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Name and address:

Charles Swift
CLCMA
833 East Arapaho Road, Suite 102
Richardson, TX, 75081

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

MO[’( a Wl¢é ll l §©r“@`d`\ CASE mm
Pla_intiff{s),
V.
P¢~\-er’ /(j CQCE§\ e|’“, TMS (_1`_,`_4.;@ /k APPLICATION O]E" NON~RESIDENT ATTORNEY

jew/f \“<`b Pr<\,M£ 1\\`§ 15-{0\&-\'0%5 TO APPEAR I:N A SPECIPIC CASE

/U f O(M \f;QMU~ ,,\ 1 @;_ , q { . Defmdant<s), PRo HAC vice
lNSTRUCTIONS POR A_PPLICA_NTS 1
(1) 'Ihe attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in

Section II, and have the designated Local Coansel sign in Seclion III. ELECTRONIC SIGNATURESARE NOTACCEPTED.
Space to supplement responses is provided in Section IV. Ihe applicant must also attach a Certz:ficate ofGood Standing (issued
within the last 30 days)jrorn every state bar to which he or she is admitted; failure to do so will he grounds for denying the
Application. Scan the completed Application with its original ink signature together with any attachment(s), to a single Portahle
Docnrnent Forrnat (PD.F) _)‘ile.

(2) Have the designated Local Coansellee the Application electronicth ( using the Coar.*,"s CM/ECP Systern), attach a Proposea Order
(nsingForrn G-64 ORDER, available from the Coart's wehsite), and pay the required $325fee online at the time offiling (usinga
credit card). Thefee is required for each case in which the applicant files an Application. Failnre to pay rhefee at the time offling
will he grounds for denying the Application Ont-of-state federal government attorneys are not required to pay the $325]'ee.
(Ceriain attorneys for the United States are also exempt join the requirement of applying for pro hac vice status. See L.R 83-2.1.4.)
A copy of the G-64 ORDER in Wora' or WorclPerfect format mast be emailea to the generic chambers email address L_R $-4.4.1

SECTION I - INPORMATION

 

 

 

 

 

 

Swift, Charles D. ` .

Applicantfs Narne (Last Narne, First Name er Middle Initial) check here if)‘ederal government attorney l;|
Constitutional Law Center for Muslims in Arnerica (CLCMA)

Finn/Agency Name _

833 E. Arapa.ho Rr.‘l, 972-914-2507 972~692~7454

guitc 102 Telephone Nan'zher Fax Namher

SfreetAcldress

Richardson, TX, 75081 cswift@clcrna.org

City, Stafe, Zip Code E»mail Address

I have been retained to represent the following parties: 7
.A.l Seraji, Moharned Plaintifj‘(s) f:{ Defena'ant(s} § Orher_-
f:] Plaintxj(s) E Defendant(s) g Other:

 

 

Name(s) ofParty(ies) Represented

List all state and federal courts (includ_ing appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership Use Section IV if more room is needed, or to provide additional information

Narne of Conrr Date oon‘.rnission Active Member in Goool Standing? [if not, lglease gplain)
533 A>H»a ref/teel

 

 

 

G-64 (6.»'16) A.PPLICATION 013 NON-RES[DENJ.` .A'I"I`ORNEY 'I`O APPEAR INA SP}£CIIFIC CASE PRO .ELAC VICE Page l of 3

 

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List all cases in which the applicant has applied to this Cou.rt for pro hac vice status in the previous three years'(continue in Section IV if
needed):

 

 

Case Nurn her Title ofAction Da te oprpligation Granted / Denied?
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If7 any pro hac vice applications submitted Witl:_in the past three (3) years have been denied by the Court, please explain:

 

 

 

 

Has the applicant previously registered as a CM/ECF user in the Central District of California? men \:_] No
Ifyes, Was the applicants CM/ECF User account associated With the e-mail address provided above? |§/Yes E No

QS’ Loi F+ § 0 coleaa\cl€¥`er\§e - C cm
Previous E-lmail Used'{ifapplicable)

Attorneys must he registered for the Court's Case Management/Electronic Case Filing ("CM/ECF”) System to he admitted to practice pro hac
vice in this Court. Suhmission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will he associated with your case. Pursuant to Local Rule 5»3.2.3, registeringas a CM/ECF User is deemed consent, for purposes ofFed R. Civ.
P. 5(!:/)(2)(1:`), to electronic service of documents through the CM/ECF System. You have the right to withhold or revoke your consent to
electronic service at any time; simply complete and return a Central District Electronic Service Exemption Form (Form G-O$, available jrom
the Court's website). If the Court receives an Electronic Service Exemption Forrn from you, you will no longer receive notice by e-mail when
Court orders or other documents are filed in cases in which you are counsel ofrecord; instead copies of such documents will he sent to you
through the mail

SECTION II - CERTIFICA'I`ION

I declare under penalty of perjury that

{l) All of the above information is true and correct

(2) I am not a resident of the State of Cal.ifornia. I am not regularly employed in, or engaged in substantial business,
professional or other activities in the State of California_

(3) I am not currently suspended from and have never been disbarred from practice in any court

(4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rulao of Civil and Criminal Procedure, '
and the Federal Rules of Evidence.

(5} I designate the attorney listed in Secn'on III below, who is a member in good standing of the Bar of this Court and
maintains an ofEce in the Central District of California for the practice oflaW, as local counsel pursuant to Local
Rule 83-2.1.3.4.

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G-64 (6/16) APPLICA.'I`ION OF NON-RES]'.`DEN`I` AT’IORNEY 'I`O APPEA.RINA SP.`ECII"IC CASE .PRO HAC VICE Page 2 of 3

 

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SECTION III ~ DESIGNATION OF LOCAL COUNSEL

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Designee’s Nurne (I.ost Nume, First chme 61 Middle l n itial)

formal on /l#jef“)`dcu[r /5’/4¢7£€, 7€€,/61:€:"01'?,5

 

 

 

 

 

 

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Ciiy, State, Zip Cod:: ¢3>¢( 39 ,¢=='

 

Designee's California State Bur Nuinber

l hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of Californ.ia for the practice of law

Dated b

 

 

 

 

 

 

 

 

G~64 (6.¢'16) A.PPI.ICATION OF NON-RESID.EN'I` ATTORNEY T() A.PPEAR ]N .A SPECI.`E"IC CASE PRO HAC VICE Page 3 of 3

 

 

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Admitted to practice before these Federal courts:

l)
2)
3)
4)
5)
6)
7)
3)
9)
10)
11)
12)
13)

U.S. Suprerne Court - 03/01/06

U.S. Court of Appeals - Z“d Circuit - 07/24/ 15

U.S. Court of Appeals ~ 3“3 Circuit - 08/09/ 16

U.S. Court of Appeals ~ 851 Circuit - 07/29/ 15

U.S. Colnt of Appeals - 9th Circuit - 12/05/08

Court of Appeals - Armed Forces - 05/17/11 #35357

US District Court - Western Distrlct of Washington - Dec. 2009
US Distriot Court -» Eastern District of Texas - 10/31/13

US District Court ~ Eastern District ofNorch Carolina - 02/01/12
US District Court - Eastern Disn~ict of Michigan - 10/14/10

US District Coult ~ Northern District of TeXas m 06/23/ 15

US DOJ Imrnigration Court- 10/27/2015 #ZZ957451

US District Court - District of Columbia - 12/07/ 15

Admitted to practice before these State courts:

l) North Caroljna Supreme Court (August 26, 1994) #21084

2) Distrlct of Columbia Court oprpeals (May 1, 2009) #987351
3) State Bar of Washington (October 27, 2009) #41671

4) State Bar of Texas (October 23, 2014) #24091964

 

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